Th`ns
With

Case Z:UéétJ*ZUOWZWUPfN/|ANDooo>mem) flaw cd§ileti»l@fio®\?£@§m;l?age 1 of 2 Page|D 29

 

1. ClR./DisT./mv. conti
TNW

z. PERSON RF;PRESEN'|‘F.D
letcr, Eddie

 

 

r"r v'~“

VOL`CHER NUMBER

w //n@:

 

J. MAG. DK'I`.!DEI". NUMBER 4. DIST. DKT.fDEF. NUMBER

2105-020014-001

5. APPEAI.S l) K.T.II)EF. NUMBER

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'/'. IN CASE¢’MATTER UF (Case Name) 8. PAYMENT CATEGORY

 

 

U.S. v. .leter Felony

9. Tvi>i: PF,RSGN REPRESENTED §§
Adult Defendant

 

E““"~`SFER»TK??" §§

See li_stru
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l]. OF]~`ENSE(S) CH ARGED (Cite U.S. Ct)dc, Title & Set‘t'ion]

1) 13 371.F -- CONSPIRACY TO DEFRAUD THE UNITED STATES Cim__jm_ § . 3 ,,1“¥‘-“€},
W i`§ t"`-’§'.? '_»'.\'\t: lr`-_i=i:a iii:ii1':_-

lf more than one ol`l'ensu, list (up to iive] major offenses charged, according '

 

votin oioffel\_se.;
. y , d .. w

 

12. AT'I`ORNEY'S NAME (Fir§t Name. :\'l.[.` Last Name‘ includingany sltme
AN[) MAILING ADI)RESS

Erwin, lake

200 Jeffersc)n Avc
Suite 1313

.V[emphis TN 38i(]3

'l`e|ephont- Numl)er:

 

 

donnie docks sheeti compliance
document entere ry JO

Rule 55 and/or 32(b} FRCrF’ on

l4. NAME AND i\’fAlI_ING ADDRESS OF I.A'W FIRM [on]y provide perinstrut‘tions)

 

!
t

 

13. COL'RT ORDER

0 Appointing Coun.te| m

:i F Subs For Federal Defonder
i:l P Sohs For Pane.| Attorney

Prior Attorney‘s l\'ame:

Appointment Date:

[l Because the above-named person represented has testified under oath or has

otherwise satisfied this court that he or she (l) is fl

(2) does not wish to waive counsol, and because the

attorney whme name appears in ltem l2 is appointed to represent this person in this case‘

or
, , q

\:l ather c lniit;lictioF/\M
._ ‘§\\s , f -

gnalure}lfPresiding .Iudi\:ia] Ofiicer or By Order o|`the Court

/3¢'

C (`n~Counsel
§ R Suhs F`or Retaine.d Attorney
i:l V Standhy Cn\mse|

= s.;vl

 

 

iii

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nancia|l},l unable to employ counsel and
interests o|'justieo so require. thi-

Dat ofOrder
\!Repay nt or partial repayment ordered from

E YE.S i:i I\O

 

 

ime l'appointmeut

the person represented for this s arrive at

Nune Pro '[`unr: Dare

 

 

 

' ‘;<;Lalat lt%,ERs?IcES AND"EX¥ENSES `

   

  

 

  

  

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CATEGOIUES {Attach itemization of services with dates)

IIOURS
CI.AIMED

TOTAL
AMOUNT

MATH."I`ECH
AD.IUSTED
HOURS

aoisoe%“
AMOUNT RE"IE

ADDITI()NAL
W

 

15. a. Arraignmcnt and/or Plea

 

 

b. Bai| and Detention Hearings

 

c. Motion Hearings

 

d. Trial

=_

 

e. Sentencing Hearings

 

f. Revocation Hearings

CLAlMED

 

 

 

 

 

 

.-.»-,i:cq

g. Appeals Court

 

h. Other (Specil`y on additional sheets)

 

 

 

 

 

 

 

 

 

 

(Rate per hour = 5 ) TOTALS:

 

F"

a. lnterviews and Conferences

 

~=O

b. Obtaining and reviewing records

 

c. Legal research and brief writing

 

d. Travel time

 

E. investigative and thEl' Wt)l'k (Specify on additional sheets)

 

 

 

 

 

 

 

 

 

_.-,¢:¢.r> -1=

(Rate per hour = $ ] TOTA.L.S:

 

17. Trave| Expenscs (lodging, parking, meals, mileage, erc.)

 

 

 

18. Other Expenses

 

 

[other than expert, transcripts, etc.)

RAND_` :roTALscLAi _iimo_ ANb.€oJUsTEo §§

  

 

 

 

 

 

 

 
  

 

 

 

19. CERTIFICA'HON OF ATTORNEY.'?AYEE FOR 'I`HF. PERIOD 0 F SERV]CE
FROM 'I‘O

 

 

 

ZU. APFO|NTMENT TERMINATION DATE
lF OT!lER TIlAN CASE C[)MPLETION

 

2]. CASE DESPO SlTlON

 

 

22. CLA]M STATUS m Fina| Payment ij Inlerim Payme¢tt Numher

Have you previously applied to the court fa' compensation and/or remimbursement l`orthis case'.'

representation? m YES i:i NO ll`yes, give details on additional sheets.

l swear or affirm the truth or correctness of the above statements.

Signat\tre ol'Attorney:

 

   

E| YES

l')ther than from the court, have you, orto your knowledge has anyone else, received payment (compensatio

El Supn|ementa| Payment
ij ND li'_ves, were you paid'.’

n or anything or value) from any other source in connection with this

[l YES ii l\'O

 

 

 
 
   
 

 
 

 

 

23. IN COURT COMP. 24, OU'I' OF COURT COMP.

15. TR.»\VEL EXPENSES

26. OTHER EXPENSES

  

 

28. SIGNATL'RE OF THE PRESIDINC JUDICIAL OFFICER

DATE

Zlhi JUDGEF'MAG,JL"DGF, CODF,

 

29. li\` COUR'I` CO.\i P. 30. OUT OF COURT COMP. 3[.

 

 

TRAVEL EXPENSES

32. OTHER EXPF.NSES

33. TOTAL AMT. AFPROVED

 

 

34. SIGNATURF. OF CHlEF JUDGE, COURT O|F APP EAI.S (OR I)ELEGATE} Payrnent

approved irl excess ofthe statutory threshold amoun ,

DATE

 

 

34a. .l UDG E CODI-I

 

 

     

UNITED S`…ATEISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 17 in
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Ste. 800

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Honorable .1 on McCalla
US DISTRICT COURT

